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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GENERAL MOTORS LLC,
                                                    Case No. 24-cv-04850
                        Plaintiff,
                                                    Judge Elaine E. Bucklo
v.
                                                    Magistrate Judge Heather K. McShain
YIGEXU, et al.,

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff General Motors

LLC (“Plaintiff” or “GM”) hereby dismisses this action, with leave to reinstate within two hundred

and seventy (270) days, as to the following Defendant:

               Defendant Name                                          Line No.
                  Yonmcfn                                                 14

Dated this 8th day of August 2024.           Respectfully submitted,


                                             /s/ Marcella D. Slay
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                                             Justin R. Gaudio
                                             Marcella D. Slay
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